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Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 1 of 39

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EXHIBIT 19

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Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 2 of 39

Holtman, Jason (SEA)

From: Holiman, Jason (SEA)

Sent: Tuesday, August 05, 2003 1:08 PM
To: ‘Bob Carlson’: 'Mark Walters’

Cc: Boraas, Kristin (SEA)

Subject: FW: VALVE: Itr and stipulation.

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to Chng Trial ... Carlson 7_3_... . : :
Bob, in follow up to our discovery conference this morning, this is a copy of my July 2,

2003 letter that was forwarded to you which memorializes the agreement we reached regarding discovery.

----- Original Message--—-

From: Holtman, Jason (SEA)

Sent: Thursday, July 03, 2003 2:00 PM

To: 'Bob Carison’; Mark Walters; Sharon Hendricks
Cc: Gage, Linda (SEA)

Subject: VALVE: ltr and stipulation.

Bob, please see attached letter and stipulation. Please return a copy of the conformed copy once it is filed. Thank you
and have a happy Fourth.

Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 3 of 39

EXHIBIT 20

Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 4 of 39

Preston|Gates|Ellis LLP

August 5, 2003
VIA HAND DELIVERY

Mr. Robert J. Carlson

Christensen, O'Connor, Johnson & Kindness PLLC
1420 Fifth Avenue

Suite 2800

Seattle, WA 98101-2347

Re: Valve, LLC y., Sierra Entertainment, Inc.
USDC Western District of Washington
Case No.: CV02-1683Z
Our Reference No.: 36063-00014

Dear Bob:

As you requested during our telephone conference today, J am enclosing further
information regarding AMDG’s activities on behalf of Vivendi in the Philippines. Both during
our telephone conversation and in your letter of yesterday, you said that you disagreed with our
assertion that AMDG ts an agent of Vivendi. Please see the attached Power of Attorney, which
clearly establishes AMDG’s agency relationship.

I have also attached a threat letter issued by AMDG dated May 8, 2003, which references
Half-Life CounterStrike as one of the games that the subject shop must “secure the required
~ Commercial Site Licenses” through AMDG. This ts due to the fact, as the letter points out, that
. SAMDG is the exclusive distributor of Commercial Site License for Vivendi Universal Games in -
the Philippines.” The threat letter also includes Sierra’s name and trademark on the letterhead.

Also attached is a document entitled “COMMERCIAL SITE LICENSE PRICING” dated
July 1, 2003. The document lists CounterStrike as part of the Vivendi Universal 6-Game Pack
and as an individual license that is obtainable from AMDG.

[ have also attached a Philippine Network Gaming Alliance (PNGA) “application” form,
which appears to be a licensing form. PNGA is a product of AMDG (as can be seen on
AMDG’s website and as is clear for the contact number given on the application form). On the
application form, CounterStrike is listed as an option under “Game Titles for Commercial Site
License.” The “application” form has a Confirmation block that reads: “Customer hereby
subscribes to the Commercial Site License provided for above indicated game titles from Asian

A LAW FIRM A LIMITED LIABILITY PARTNERSHIP INCLUDING GTHER LIMITED LIABILITY ENTITIES

925 FOURTH AVENUE, SUITE 2900 SEATTLE, WA 98104-1158 TEL: (206) 623-7580 FAK: {206) 623-7022 www.prestongates.com
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Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 5 of 39

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Mr. Robert J. Carlson
August 5, 2003
Page 2

Media Development Group, Inc. and has read, agreed and hereby accepts the terms and
conditions set by AMDG.”

Further, as we discussed on the phone, AMDG representatives have testified in front of
the Philippine House of Representatives that they are the exclusive distributor of CounterStrike
in the Philippines. Following is an excerpt from the official House of Representatives website:

Lawyer Jay Santiago, corporate secretary of AMDG, explained the collection of fees by his
company. He said that these fees are imposed for the issuance of a license that allaws the
commercial use of computer games that are exclusively distributed by the AMDG.

He explained that the AMDG is the exclusive distributor of popular computer games like “Counter-
Strike” and “Warcraft”, which were developed by Sierra and Blizzard, two software developers
and subsidiaries of Vivendi.

Santiago said that without the license, internet cafes violate the intellectual property rights of
licensed software developers.

He addad that AMDG was given the authority by these computer game makers to distribute the
games based on an agreement. This agreement, he said, involves collection of fees and the right
to take legal action if necessary. Santiago also informed the body that AMDG also has a special
power of attorney (SPA) given by Sierra and Blizzard as well as Vivendi.

<http-//www.congress.gov.ph/committees/commnews_det.php?newsid=735> Philippines House
of Representatives (March 19, 2003) “Collection of fees by a computer game distributor
questioned,” Given the documentation we have discovered regarding AMDG, it appears that it is
acting with the belief that it is Vivendi’s exclusive agent and that it is licensing CounterStrike to
cybercafes with the full knowledge and participation of Vivendi.

Please note that AMDG appears to have very recently changed its website once again.
The text that was once contained under “Licenses” block on the front page of AMDG’s website
has been changed to a “Products” entry as follows:

LICENSES

AMDG atfers Commercial Site Licenses for Blizzard & Sierra Games! PRODUCTS

Network Gaming Centers may now enjoy playing Vivendi Universal AMD is the official partner of Vivendi Universal Games in the
Games legitimately. AMDG now offers 4 promotional Commercial Philippines. We distribute original PG games from Blizzard, Sierra,
Site Licenses STARTER PACK for Blizzard & Sierra award winning Black Label, Universal Interactive, NDA, PPG and many other
games, Included in this package are the new hit games "Warcraft Ill: developers for Retail and Cyber Cafes!

Reign of Chaos" and the phenomenal "Half-Life: Counter Strike”. .
Calling all Network Game Centers! You are all invited to the [sic]
Along with these FREE titles "Aliens vs. Predator*, "Empire Earth’, register with the Philippine Network Gaming Association (P.N.G.A. }.
“Diablo II” and “StarCraft”. Register now and be part of the Alliance.

Take advantage of this super offer now! Cal AMDG at 757-5000 or
911-AMDG for inquiries.

Although we have referred you to the “Licenses” language in the past, I have attached printouts of
both the current and previous pages for your reference. Note that the former page from the

Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 6 of 39

Mr. Robert J. Carlson
August 5, 2003
Page 3

AMDG website is printed with a footer reading
“file://C\DOCUME~1\ph\LOCALS~1\Temp\tri[BIBO.htm.” That is a reference to my
computer, which was reading a captured and authenticated version of AMDG’s prior website.

To the extent that any Vivendi representative or lawyer has knowledge of the change made to the
AMDG website, we expect that such material will be produced to us pursuant to the Crvil Rules
and/or shared with us pursuant to Vivendi’s obligations under Section 4.4 of the Agreement.
Please advise.

I want to be clear that Vivendi had an obligation to investigate this matter both under its
obligations under 4.4 of the Agreement and in light of its obligations under CR 26(g). Given that
Valve had to resort to finding this information on its own, however, Vivendi failed to live up to
either obligation by net producing such information dud conutimuimg tv mama thal Vivendi was -
unaware of this activity.

1 also want to be clear that I have provided you in the past sufficient information for you
to reasonably conduct such an investigation (i.e. the distributor agreement, the Counterstrike
jewel case marked with Sierra’s name, and one of the Vivendi licenses that AMDG uses). Your
continued insistence that I provide you specifics on where and from whom I have obtained this
information is not well taken. As we discussed on the phone, my sources are rightfully worried
about retribution from AMDG. Plus, prior conduct of your client in unilaterally contacting
AMDG once we alerted you to AMDG’s activity (which resulted in AMDG’s website being
taken down) suggests that our sources should remain anonymous at this point. As part of
Vivendi’s duty to cooperate, we would appreciate being included in Vivendi’s future
communications with AMDG in regard to this matter.

Given that you had trouble reading the last fax of material that I sent to you, I am having
this material hand delivered to your offices today. Please respond.

Very truly yours,

PRESTON GATES & ELLIS LLP
—= e
By

Jason P. Holtman

JPH:jph

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Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 7 of 39

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LGARA'), hereby aypouils Asian Media Development Group, having a registered address at 2/F Jannov Plaza, 2295 Don Ching Roces Avenue, 141 Mohit
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‘Senior Counsel and Assistant Secretary

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ASIAN MEDIA DEVELGPMENT GAOUE

May 8, 2003

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Vivendi Couversal Games is a CREME in gress vigkuion of intellectual property rights.
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relation a Sections 177 and }87.2 of Republic Act 8293 (intellectual Property 4 ade)
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FINES, .

Asian Media Development Group (AMDG} is the exclusive distributer of Commer int
Site Licenss for Vivendi Universal Games in the Philippines. We enceurage you to
immediately legalize your business operations with vahd Commercial Site Licenses
jena only by AMDG.,

You may seutact om Sales Executive, Mr. Eduard Donato. at 811-2634 (AMDG) or his
mobile phone al 0919-3626332 fo secure the required Consmercia) Site Licenses for these
yaurios heing played at your shop.

‘This serves as WARNING on your illegal use of the aforementioned PC pames b. UG.
Larless you arc able to obtain said license for your shop on or before May 21, 2003, we
shall pursue strict enforcement 1o the fullest oxtent of the kaw.

Very tly yours.

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Page 9 of 39

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Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 10 of 39

4 APPLICATION FORM

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EXHIBIT 21

Filed 08/14/03

Page 16 of 39

Case 2:02-cv-01683-TSZ-MAT Document 17-5 Page 17 of 39

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August 8, 2003

Mr. Robert J. Carlson

Christensen, O'Connor, Johnson & Kindness PLLC
1420 Fifth Avenue

Suite 2800

Seattle, WA 98101-2347

Re: Vaive, LLC v. Sierra Entertainment, Inc.
Dear Bob:

The following is a summary of some of the outstanding discovery issues between the
parties. As we were unable to reach agreement on many issues during recent CR 37 our
conference, please be advised that it is necessary to bring a motion to compel production and
answers to our first set of discovery next week.

I am writing this letter to once again ask that Vivendi abide by the agreement we reached
in early July, namely that Vivendi would stop raising extraterritoriality as a bar to discovery.
Vivendi has delayed this suit by yet another month by failing to abide by this agreement.
Furthermore, as J made clear in early July, Vivendi has no grounds for resisting discovery on the
basis of extraterritoriality. Not only is your reliance on Subafilms misplaced, but even if
Subafilms did apply, Valve would be entitled to full discovery in order to determine whether
Vivendi’s activities would be considered extraterritorial. To date, the limited information Valve
has been able to find on its own demonstrates that Vivendi is directly infringing Valve’s
copyrights worldwide.

Valve would like to avoid this motion to compel, but Vivendi has given it no choice.

A. Vivendi’s Refusal to Abide by the Terms of Our Previous Discovery Agreement

In a letter dated July 3, 2003, I confirmed the agreement that we had reached that same
day in lieu of Valve bringing a motion to compel. In relevant part, that letter stated:

This letter will memorialize the agreement we reached this morning in
terms of a discovery plan and requesting an extension of the trial date from the
court. Our agreement was reached in lieu of Valve bringing a motion to compel
today. Valve is not waiving the right to bring a motion to compel at a future date
should it be necessary.

A LAW FIRM A LIMITED LIABELITY PARTNERSHIP INCLUDING OTHER LIMITED LIABILITY ENTITIES

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Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 18 of 39

Mr. Robert J. Carlson
August 8, 2003
Page 2

We agreed that we will meet and confer next week in order to develop a
plan as to how Vivendi will produce further discovery materials. Particularly, we
agreed that Vivendi will not raise extraterritoriality as a bar to discovery and
that Vivendi intends to produce documents related te cybercafe licensing
worldwide. However, by agreeing to provide documents and materials related to
foreign licensing, Vivendi is not waiving any right it may have to assert
extraterritoriality as a defense in the future. We also agreed that we would
address the additional discovery concerns raised in my letter of June 30 at our
meeting. We look forward to working out a reasonable discovery plan with you
next week.

Furthermore, in order to facilitate the discovery that needs to take place,
we agreed to request a three month extension of the trial date from the Court. We
also agreed to an exchange of settlement demands and a settlement conference as
set forth in the stipulation. I have inserted the language that you requested after
your review of the stipulation this morning. I hereby authorize you to execute the
enclosed stipulation on my behalf. Please have it filed with the Court today.

Notably, you carried out the directions contained in the last paragraph of my letter, executing the
stipulation on my behalf and filing it with the Court. Your continued objection to producing
documents related to cybercafe licensing worldwide is contrary to the agreement that we
reached. We intend to bring this agreement to the attention of the Court in our motion to compel.

B. Sierra’s Continued Refusal to Produce Documents From Its Foreign Offices

Vivendi continues to wrongly apply and rely upon Subafilms, Ltd. v. MGM-Pathe
Communications Co., 24 F.3d 1088 (9th Cir. 1994) in order to avoid its discovery obligations.
Subafilms is applicable to this situation because it is a narrow holding that found that an
allegation of “mere authorization” cannot by itself support a copyright claim based on
contributory infringement. Valve is not claiming that Sierra is a contributory infringer; nor 1s
Valve claiming that the only copyright violation Sierra was responsible for was “merely”
authorizing third parties in foreign jurisdictions. Rather, the Complaint alleges as follows:

Vivendi has in the past and continues to reproduce, use, distribute, and/or license
one or more of the Valve Games with regard to “cyber cafés.” Vivendi’s
activities are outside the scope of Vivendi’s limited license to reproduce, use,
distribute, and/or license the Valve Games as Retail Packaged Products, and
therefore constitute copyright infringement in violation of the Copyright Act of
1976, 17 U.S.C. §106.
14/03. Page 19 of 39

Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08

Mr. Robert J. Carlson
August 8, 2003
Page 3

As I have repeatedly discussed with you, this is net the same as the allegation of “mere
authorization” that was taken up by the Subafilms court. Rather, it is an allegation of direct
copyright infringement. See e.g., Sun v. Microsoft, 188 F.3d 1115, 1121 (9th Cir. 1999) (acting
outside the scope of a license constitutes copyright infringement). Moreover, the limited
evidence that Valve has been able to collect to date demonstrates that Vivendi did far more than
merely authorize activities worldwide—it directly took part in, coordinated, and fostered the
infringing activity at issue.

Your flat refusal to produce documents from Vivendi’s foreign offices is simply not
warranted under the circumstances or law. Given the documents that Valve has discovered on its
own to date, it is unreasonable for you to maintain that responsive documents from Vivendi’s
foreign offices would not be “reasonably calculated to lead to the discovery of admissible
evidence.” Indeed, at a minimum, those documents would tend to prove or disprove Vivendi’s
claim that there is no nexus between its United States and foreign activities. What little in the
way of documents that Valve has been able to find on its own (for instance the AMDG
documents), tend to contradict Vivendi’s claim in any event.

C. Custodians

Please advise whether you have made a full collection of documents from the following
custodians: Dawn Gonzalez, Adam Fossa, Lee Rossini, Ron Robinson, Mike Kaplan, Cris
Schenck, Phil O’Neil, Eric Roeder, and any persons listed on Valve’s or Sierra’s initial
disclosures.

During our discovery conference, we asked about production of materials from the files
of Deanna Erickson, Michael Tan and Patrick Sweeny. These persons appear to us to be in the
possession of responsive documents. Please advise as to whether you intended to search their
files for responsive documents. In addition, we discussed people that were identified through
Vivendi’s second production: Brad Beegle, Ed Phillips, Jim McKee, Bryce Nakasato, Edward
Zinser, Nicholas Longano, Stephen Farr-Jones, Olivia Bellingham, Pierre Lansonneur, Sophie
Paccoud, Valerie Poisson, Peter Della Penna, Annie Eckels, Jennifer Alas, Rod Rigole, Esq.,
Dan Trunk, Leslie Hollingshead and Sylvia Whiteshield. Please inform us when you intend to
collect these documents and produce them to Valve. [f not, we will ask that the Court compel
such production.

Although this is not a complete recitation of all of the outstanding discovery issues
between the parties or of the reasons why extraterritoriality is not a legitimate bar to discovery in
this case, 1 believe we should discuss these issues once more before Valve is forced to bring a
motion to compel. I have time to discuss these issues on Monday morning. I suggest that we

Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 20 of 39

Mr. Robert J. Carlson
August 8, 2003
Page 4

have a follow-up CR 37 discovery conference at 11:00 a.m. in order to determine whether
Valve’s motion to compel is necessary under these circumstances.

Very truly yours,

PRESTON GATES & ELLIS LLP

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Jason P. Holtman

JPH:kjb

cc: Valve

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Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 22 of 39

EXHIBIT 22

Case 2:02-cv-01683-TSZ-MAT Document17-5 Filed 08/14/03 Page 23 of 39

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August 11, 2003

VIA FACSIMILE AND REGULAR MAIL

Mr. Robert J. Carlson

Christensen, O'Connor, Johnson & Kindness PLLC
1420 Fifth Avenue

Suite 2800

Seattle, WA 98101-2347

Re: Valve, LLC v. Sierra Entertainment, Inc.
USDC Western District of Washington
Case No.: CV02-16832
Our Reference No.: 36063-00014

Dear Bob:

lam writing to inform you of yet more evidence that Valve has discovered of Vivendi’s direct
infringement of Valve products. It appears that Sendi Mutiara Multimedia (“SMM”) is the agent of
Vivendi in Malaysia and has engaged in infringing activity in Vivendi’s name. Notably, SMM makes the
following claims on its website:

Appointed by Vivendi Universal Publishing through iGames Asia Pte. Ltd., Sendi
Mutiara Multimedia (SMM) is the exclusive partner and distributor for PC games
software in Malaysia for the year 2003.

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Sendi Mutiara Multimedia Sdn. Bhd. has been the supplier of PC games software to
nearly 1,000 cybercafe/LAN game centres throughout Malaysia since 2001. For the year
2003, the company will now venture forth into the retail PC games market. . . .

<Attp://www.smm.net.my/profile>. Attachment A. SMM also claims that it offered Counter-Strike as a
“cybercafe release” in February 2003. <www.smm.net.my/games.html> Attachment B. In its literature,
SMM makes a distinction between its “cybercafe releases” and “retail releases.” Jd. SMM offers
Counter-Strike as both a retail product and as a cybercafe license. Jd. SMM’s licensing terms/conditions
are partially disclosed on its website as well. <www.smm.net.my/product.htmi> Attachment C.

SMM appears to have taken over licensing activities for AdSpace Media Sdn. Bhd., which
previously licensed and distributed Valve products to cybercafes. I note from a review of Sierra’s
production to date that you did not produce agreements for either AdSpace Media or SMM. Please
explain why these were not produced and/or direct me to where in Sierra’s production they are contained.
Please also direct me to any agreements between iGames Asia Pte and Vivendi and its subsidiaries.

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Mr. Robert J. Carlson
August 11, 2003
Page 2

Attachment D. J apologize in advance if you have produced these agreements because I have not yet had
a chance to review your latest production in depth and could have overlooked them.

More importantly, the evidence of SMM’s licensing activities is a further indication that Vivendi
is directly engaged in infringing conduct by licensing cybercafes. At a minimum, SMM’s activities are
further evidence that Vivendi’s worldwide activities are subject to discovery by Valve because
information related to such activity is reasonably calculated to lead to the discovery of admissible
evidence. Valve is entitled to discovery in order to investigate SMM’s activities on behalf of Vivendi.

Additionally, to the extent that Vivendi takes a similar position regarding SMM as it did with
AMDG, namely that SMM is not Vivendi’s agent and that it is not authorized to undertake the activities
that are disclosed on its website (even though Valve would dispute such a claim as it does your claim
regarding AMDG given the evidence it nas found), Valve demands that Vivendi 1mmediately cooperate
pursuant to § 4.4 of the Publishing Agreement, which requires that:

“In the event Sierra learns of any potential infringement or imitation of the Valve
Underlying Technology, or the Valve Trademarks, or any other proprietary rights in or
related to any of them, if will prompily notify Valve thereof: Sierra acknowledges that
Valve may take any such action as it deems advisable for the protection of its rights in
and to such proprietary rights, and Sierra shall, if requested by Valve, cooperate in all
respects therein at Valve's expense.”

As part of this cooperation, Valve demands that Vivendi not inform SMM of this matter without first
coordinating such communication with Valve. Valve believes that Vivendi’s previous unilateral contact
of AMDG was potentially detrimental in that situation because it led to AMDG taking down and then
modifying evidence contained on its website. If Vivendi takes the position that SMM is not authorized to
offer cybercafe licenses for Valve products as it advertises on its website, Valve is prepared to coordinate
a plan of action regarding SMM immediately and asks that Vivendi provide assistance and input no later
than end of business Monday, August 11.

I would like for you to consider this evidence for our upcoming discovery conference at 11:00
a.m. on Monday as Valve intends to include this additional evidence in its upcoming motion to compel.

Very truly yours,

PRESTON GATES & ELLIS LLP

By
Jason P. Holtman

JPH:jph

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Page 25 of 39

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Page 32 of 39

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Page 36 of 39

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Page 37 of 39

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